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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

                                                    :
Ryan Dalessaneri,                                   :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
Credit Acceptance Corporation,                      : DEMAND FOR JURY TRIAL
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, Plaintiff, Ryan Dalessaneri, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Ryan Dalessaneri (“Plaintiff”), is an adult individual residing in Monroe,

Michigan, and a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant, Credit Acceptance Corporation (“CAC”), is a Michigan business

entity with an address of 25505 West 12 Mile Road, Southfield, Michigan 48034-8316, and a

“person” as defined by 47 U.S.C. § 153(39).
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                                             FACTS

         5.    Within the last year, CAC began calling Plaintiff’s cellular telephone, number

734-xxx-2045, using an automatic telephone dialing system (“ATDS” or “predictive dialer”)

and/or using a prerecorded voice.

         6.    When he answered calls from CAC, Plaintiff heard silence followed by a

prerecorded message which instructed him to return the call.

         7.    In or around January 2016, Plaintiff spoke with a CAC representative and

demanded that CAC cease all calls to his cellular telephone number.

         8.    Nevertheless, CAC continued to place automated calls to Plaintiff’s cellular

telephone number.

                                    COUNT I
                    VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et seq.

         9.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         10.   At all times mentioned herein year, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded message.

         11.   Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

         12.   The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         13.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.
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       14.     The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

       15.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call

made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       16.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                  1. Statutory damages of $500.00 for each violation determined to be negligent

                      pursuant to 47 U.S.C. § 227(b)(3)(B);

                  2. Treble damages for each violation determined to be willful and/or knowing

                      pursuant to 47 U.S.C. § 227(b)(3)(C); and

                  3. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: September 8, 2016
                                              Respectfully submitted,

                                             By: /s/ Sergei Lemberg, Esq.
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